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                                                                Ex. 1-D




      EXHIBIT 1-D –
         Deposition of Bank’s FRCP 30(b)(6) witness




                                                                Ex. 1-D
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                       In The Matter Of:
                   Wells Fargo Bank, N.A. vs.
                SFR Investments Pool 1, LLC, et al.




                     30(b)(6) Stephanie Bradford
                            April 8, 2016




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                    UNITED STATES DISTRICT COURT                     1                        I N D E X
                          DISTRICT OF NEVADA                         2
                                                                     3 EXAMINATION:                                      PAGE
      WELLS FARGO BANK, N.A., a national )                           4 EXAMINATION BY MS. EBRON                              6
      banking association,                      )                      EXAMINATION BY MS. JEONG                             87
                                                )                    5
                  Plaintiffs,                   )
                                                ) CASE NO:           6
           vs.                             ) 2:15-cv-00796-APG-CWH
                                                )                    7
      SFR INVESTMENTS POOL 1, LLC, a            )
      Nevada limited liability company; )                            8
      SOMMERSET HOMEOWNERS ASSOCIATION, )
      a Nevada non-profit corporation;          )                    9
      ALESSI & KOENIG, LLC, a Nevada            )
      limited liability company,                )                   10
                                                ) DEPOSITION OF:
                 Defendants.                 ) STEPHANIE BRADFORD 11
     ___________________________________) PURSUANT TO NRCP 30(B)(6)
                                        ) PERSON MOST KNOWLEDGEABLE 12
     SFR INVESTMENTS POOL 1, LLC, a       ) WELLS FARGO BANK, N.A.
      Nevada limited liability company; )                           13
                                                ) Taken at:
                 Counter-Claimant,            ) Kim Gilbert Ebron 14
                                          ) 7625 Dean Martin Drive
            vs.                               ) Las Vegas, Nevada 15
                                                )
      WELLS FARGO BANK, N.A., a national ) on Friday,               16
     banking association; JOEL LYNN      ) April 8, 2016, 1:17 p.m.
      ABELSON, an individual,                   )                   17
                                                )
                  Counter-Defendant/            )                   18
                  Cross-Defendant.              )
      ___________________________________)                          19
                                                                    20
                                                                    21
                                                                    22
      Job No. 22203                                                 23
      Depo International - Las Vegas                                24
      Reported by: Andrea Martin, CSR, RPR, NV CCR 887
      NCRA Certified Realtime Reporter No. 821201                   25

                                                        Page 2                                                          Page 4
 1    APPEARANCES:                                                1                       E X H I B I T S
 2    For Plaintiffs:                                             2   MARKED               DESCRIPTION                   PAGE
 3               SNELL & WILMER, LLP                              3   EXHIBIT 1    Notice of 30(b)(6) Deposition of         12
                 BY: WAYNE O. KLOMP, ESQ.                                          Wells Fargo Bank, N.A.
 4               3883 Howard Hughes Parkway                       4
                 Suite 1100                                           EXHIBIT 2    Note, 1404 Padre Bay Drive, Las          14
 5               Las Vegas, Nevada 89169                          5                Vegas, Nevada 89108
                 TEL: (702) 784-5200
 6               FAX: (702) 784-5252                              6   EXHIBIT 3    Deed of Trust, WFB 000001 to WFB         16
                 E-mail: WKlomp@swlaw.com                                          0000020
 7                                                                7
                                                                      EXHIBIT 4    Grant, Bargain, Sale Deed, WFB           23
 8    For Defendants SFR Investments Pool 1, LLC:                 8                000012 to WFB 000021
 9               LAW OFFICES OF KIM GILBERT EBRON                 9   EXHIBIT 5    Grant, Bargain, Sale Deed, WFB           23
                 BY: DIANA S. CLINE EBRON, ESQ.                                    000023 to WFB 000024
10               Suite 110                                       10
                 7625 Dean Martin Drive, Suite 110                    EXHIBIT 6    Release of Notice of Delinquent          25
11               Las Vegas, Nevada 89139                         11                Assessment Lien, WFB 000031
                 TEL: (702) 485-3300
12               FAX: (702) 485-3301                             12   EXHIBIT 7    Notice of Default and Sell Under         26
                 E-mail: Diana@kgelegal.com                                        Deed of Trust Important Notice,
13                                                               13                WFB 000032 to WFB 000034
14    For Defendants Sommerset Homeowners Association:           14   EXHIBIT 8    Notice of Rescission of Notice of        28
                                                                                   Default and Election to Sell Under
15               LIPSON, NEILSON, COLE, SELTZER & GARIN          15                Deed of Trust WFB 000035 to WFB
                 BY: H. SUNNY JEONG, ESQ.                                          000036
16               Suite 120                                       16
                 9900 Covington Cross Road                            EXHIBIT 9    Release of Lien, WFB 000037              29
17               Las Vegas, Nevada 89144                         17
                 TEL: (702) 382-1500                                  EXHIBIT 10   Notice of Delinquent Assessment          30
18               FAX: (702) 382-1512                             18                (Lien), WFB 000038
                 E-mail: SJeong@lipsonneilson.com
19                                                               19   EXHIBIT 11   Assignment of Deed of Trust, WFB         32
                                                                                   000039 to WFB 000040
20                                                               20
                                                                      EXHIBIT 12   Notice of Claim of Lien for Solid        35
21                                                               21                Waste Service, WFB 0000041 to WFB
                                                                                   000041
22                                                               22
                                                                      EXHIBIT 13   Notice of Default and Election to        35
23                                                               23                Sell Under Deed of Trust Important
                                                                                   Notice, WFB 000042 to WFB 000044
24                                                               24
25                                                               25


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 1   EXHIBIT 14   Notice of Default and Election to       36
                  Sell Under Homeowners Association             1      Q What's your position at Wells Fargo?
 2                Lien, WFB 000045
                                                                2      A Loan verification analyst.
 3   EXHIBIT 15   Release of Lien For Solid Waste         37
                  Service, WFB 0000046                          3      Q How long have you been employed by
 4
     EXHIBIT 16   Notice of Trustee's Sale, WFB           37    4   Wells Fargo?
 5                000047
                                                                5      A I have been employed by Wells Fargo for
 6   EXHIBIT 17   Notice of Lien, WFB 000048              38
                                                                6   over five years.
 7   EXHIBIT 18   Notice of Trustee, WFB 000049           38
                                                                7      Q So 2011? 2010?
 8   EXHIBIT 19   Notice of Claim of Lien for Solid       39    8      A 2010 or '11. 2010.
                  Waste Service, WFB 000050
 9                                                              9      Q Have you held any other position at
     EXHIBIT 20   Substitution of Trustee, WFB            39
10                000051 to WFB 000052                         10   Wells Fargo besides loan verification analyst?
11   EXHIBIT 21   Trustee's Deed Upon Sale, WFB           40   11      A Yes.
                  000053 and WFB 0000 to WFB 000054
12                                                             12      Q What other positions?
     EXHIBIT 22   Notice of Rescission of Notice of       41
13                Default and Election to Sell Under
                  Deed of Trust, WFB 000055 to WFB
                                                               13      A Bankruptcy specialist and a -- it was
14                000056                                       14   default, servicing default.
15   EXHIBIT 23   Notice of Default and Election to
                  Sell Under Deed of Trust Important
                                                          41   15      Q Any others?
16                Notice, WFB 000060 to WFB 000065             16      A No.
17   EXHIBIT 24   Certificate, State of Nevada            46   17      Q Have you had your deposition taken before?
                  Foreclosure Mediation Program, WFB
18                000067                                       18      A Yes.
19   EXHIBIT 25   Notice of Trustee's Sale, WFB           48   19      Q About how many times?
                  000068 to WFB 000070
20                                                             20      A More than 30.
     EXHIBIT 26   Notice of Lis Pendens, WFB 000071       49
21                to WFB 000073                                21      Q So you are pretty familiar with the ground
22   EXHIBIT 27   Notice of Default and Election to       50   22   rules of a deposition?
                  Sell Under Homeowners Association
23                Lien                                         23      A I am.
24   EXHIBIT 28   Wells Fargo Bank N.A.'s Responses       79   24      Q Have you also testified at trials?
                  to SFR Investments Pool 1, LLC's
25                Interrogatories                              25      A Yes.

                                                      Page 6                                                    Page 8

 1       Las Vegas, Nevada; Friday, April 8, 2016               1      Q About how many times?
 2                   1:17 p.m.                                  2      A I don't know. More than 50.
 3                    -oOo-                                     3      Q In the trials and depositions that you've
 4               STEPHANIE BRADFORD,                            4   testified at, are they in a certain geographical
 5   having been first duly sworn by the court reporter         5   area or all over the country?
 6   to testify to the truth, the whole truth, and              6      A They're all over the United States.
 7   nothing but the truth, was examined and testified          7      Q Where did you work before Wells Fargo?
 8   under oath as follows:                                     8      A I worked for -- well, within my five and a
 9                  EXAMINATION                                 9   half, six years, I had a six-month break from
10   BY MS. EBRON:                                             10   Wells Fargo, and I worked for Hillsborough Law
11       Q Good afternoon. I'm Diana Cline Ebron. I            11   Group.
12    represent SFR Investments Pool 1, LLC, in this           12          Prior to joining Wells Fargo, I worked for
13    matter.                                                  13   The Defender Association of Philadelphia for five
14           Can you please state your name for the            14   years.
15    record.                                                  15      Q So what were the dates of your employment
16       A Stephanie Bradford, last name                       16   with The Defender Association in Philadelphia?
17    B-R-A-D-F-O-R-D.                                         17      A I believe August 2005 to April or
18       Q Thank you. Are you employed?                        18   May 2010. Yes. And then I started with Wells I
19       A I am.                                               19   think in June 2010, May or June.
20       Q Who's your employer?                                20      Q What was your position with the Defender
21       A Wells Fargo.                                        21   Association of Philadelphia?
22       Q What's your business address? Or what --            22      A Assistant defender.
23       A I don't know.                                       23      Q Did you hold any other positions there?
24       Q -- city?                                            24      A No, I don't believe so.
25       A Oh, okay. Portland, Oregon.                         25      Q What were your duties as an assistant

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 1 defender?                                                1    Q Anywhere else?
 2    A I represent individuals that were --                2    A No.
 3 indigent individuals that were accused of crimes in      3    Q Do you have any other professional
 4 Philadelphia county.                                     4 licenses or certifications?
 5    Q Anything else?                                      5    A No.
 6    A Besides that, no.                                   6    Q What are your duties as a loan
 7    Q When you worked for the Hillsborough Law            7 verification analyst?
 8 Group, what was your position?                           8    A I work on accounts in litigation, and I
 9    A I think it was staff attorney or associate          9 work with our in-house counsel and our local counsel
10 attorney. I don't remember which one.                   10 to bring cases to resolution. That includes doing
11    Q What type of law did you practice?                 11 research, reviewing pleadings, discovery, attending
12    A I did criminal defense and family law.             12 depositions, and other court appearances.
13    Q Were you employed before you worked for            13    Q Do you have a regular caseload that you
14 The Defender Association of Philadelphia?               14 work, like, specific files, or is your -- or are
15    A I had jobs before that, but I didn't have          15 your assignments based on appearances?
16 a regular job -- immediately before The Defender        16    A I do have a regular number of cases that
17 Association, I was in law school, so I had summer       17 I -- that I work on, yes, and then I also do
18 employment, and prior to that, I'd had jobs.            18 appearances.
19    Q Where did you attend law school?                   19    Q Are there any other deals that you have as
20    A Duke University.                                   20 a loan verification analyst besides --
21    Q So what were the dates that you were at            21    A There may, but those were the primary
22 Duke for law school?                                    22 duties.
23    A I believe August of 2002 until June of --          23    Q What were your duties as a bankruptcy
24 May -- May or June of 2005. I think it was May,         24 specialist?
25 actually.                                               25    A I worked on accounts in bankruptcy. I

                                                 Page 10                                                   Page 12

 1    Q Do you have an undergraduate degree?                1 wrote some scripting. That's about it.
 2    A Yes.                                                2    Q What do you mean by "writing scripting,"
 3    Q In what?                                            3 like a transcript when you talk to people?
 4    A What is my degree in?                               4    A Yeah, scripting for individuals that
 5    Q Yes.                                                5 interact with our borrowers on the phone.
 6    A Political science.                                  6    Q What were your duties as a
 7    Q Where did you attend undergrad?                     7 default -- well, in default servicing?
 8    A Occidental.                                         8    A I worked on high balance accounts in
 9    Q What year did you graduate?                         9 default that we were servicing or owned. Actually,
10    A In 2000.                                           10 not servicing, that Wells owned.
11    Q Do you have any other experience in the            11        (Deposition Exhibit 1 was marked for
12 mortgage and lending industry besides working for       12        identification.)
13 Wells Fargo?                                            13 BY MS. EBRON:
14    A Any experience that I'm drawing on today,          14    Q Could you look at the document that's been
15 no. I worked for a bank in undergrad, but that          15 marked Exhibit 1.
16 hasn't prepared me to testify today.                    16    A Yes.
17    Q What was your position at the bank that            17    Q Do you recognize this document?
18 you worked at as an undergrad?                          18    A Yes.
19    A I don't remember what my position was. I           19    Q What is it?
20 don't know. Some kind of student training position.     20    A This is the notice of deposition.
21    Q Are you licensed to practice law?                  21    Q And it's for Wells Fargo Bank N.A.;
22    A I am inactive, but, yes, I have been               22 correct?
23 licensed to practice.                                   23    A It is, yes.
24    Q Where have you been licensed?                      24    Q Did you have a chance to review this
25    A In Oregon and Pennsylvania.                        25 notice before today?


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 1    A Yes.                                                 1 information across the top of it that references a
 2    Q Can you look at Page 2, please. There's              2 case number and a document number and a filing date
 3 some definitions, including property that refers to       3 number, and that's because I got this copy of it
 4 the real property located at 1404 Padre Bay Drive         4 from an attachment to the motion for summary
 5 Las Vegas, Nevada 89108, Parcel No. 138-26-114-027.       5 judgment filed by Wells Fargo.
 6         Whenever I talk about "the property"              6         So without that information, do you know
 7 today, I'm going to be referring to the property on       7 if this is a copy of the way the note looks today?
 8 Padre Bay. Okay?                                          8     A Yes.
 9    A Yes.                                                 9     Q How do you know that?
10    Q Also, it defines the homeowners                     10     A Because this is the same -- this appears
11 association as Somerset Homeowners Association.          11 to be the same as the copy that I've seen in our
12         Whenever I refer to "the association,"           12 imaging system.
13 unless otherwise specified, I'm talking about the        13     Q Have you seen a copy of the original note?
14 Somerset Homeowners Association. Okay?                   14 Or have you seen the original note with the original
15    A Yes.                                                15 signature?
16    Q In addition, there is reference to the              16     A No, I've never seen the original.
17 "association foreclosure sale." When I talk about        17     Q Do you know where it's located?
18 that, I'm talking about the auction held on              18     A No. I didn't look to see. It is in one
19 January 9th, 2013, by Alessi & Koenig, LLC, on           19 of our vaults. I don't know which vault it is,
20 behalf of the association.                               20 though.
21         So whenever I ask you for information or         21     Q Is there a place you could look to find
22 something that happened before the date of the           22 out where it is located?
23 association foreclosure sale, I'm going to be            23     A Yes.
24 talking about something that happened before             24     Q Where's that?
25 January 9th, 2013. Okay?                                 25     A The mortgage servicing platform will

                                                  Page 14                                                    Page 16

 1      A Yes.                                               1 advise which vault it is in.
 2      Q I also may refer to Alessi & Koenig, LLC,          2    Q If you could look at the last page, it
 3   as "Alessi." Is that okay?                              3 says "Page 5 of 5."
 4      A Yes.                                               4       Do you know if there are any other
 5      Q There are topics listed in the notice              5 endorsements besides the ones shown on this page?
 6   starting on Page 3 and going to Page 7.                 6    A I don't believe that there are.
 7          Did you have a chance to review each of          7    Q Do you know if there are any allonges to
 8   those topics?                                           8 the note that are not included with it?
 9      A Yes.                                               9    A No. I believe there's an allonge to the
10      Q And are you the person that Wells Fargo           10 deed of trust, which there usually isn't, but I
11   has designated to testify on its behalf for those      11 believe there was an allonge that was attached that
12   topics?                                                12 I recall seeing, but usually, no, those are with the
13      A Yes.                                              13 note, and I don't recall seeing an allonge that was
14          (Deposition Exhibit 2 was marked for            14 ever part of this note.
15          identification.)                                15       (Deposition Exhibit 3 was marked for
16   BY MS. EBRON:                                          16       identification.)
17      Q Can you look at what's been marked                17 BY MS. EBRON:
18   Exhibit 2, please. Do you recognize this document?     18    Q Can you look at what's been marked as
19      A Yes.                                              19 Exhibit 3.
20      Q What is it?                                       20    A Oh, yeah. There it is.
21      A This is the note that corresponds to the          21    Q Do you recognize this document?
22   property on Padre Bay for Mr. Abelson.                 22    A Yes.
23      Q Sorry. Do you know: Is this a copy of             23    Q What is it?
24   the note as it exists today?                           24    A This is the deed of trust that was
25          And just to be clear, there's some              25 recorded February 15th, 2007, for Joel Lynn


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 1   Abelson's property that we've been discussing.          1   mortgage servicing platform or to call somebody to
 2      Q And is this the deed of trust that was             2   just get the information on the record, that will be
 3   recorded to secure the note that we marked as           3   great?
 4   Exhibit 2?                                              4          MR. KLOMP: I think as we go through these
 5      A It was, yes.                                       5   documents, it will refresh your recollection as
 6      Q Who originated this loan?                          6   well.
 7      A Mylor Financial.                                   7          THE WITNESS: It should.
 8      Q And when was that?                                 8          MS. EBRON: Perfect.
 9      A February 6th, 2007.                                9   BY MS. EBRON:
10      Q Was Wells Fargo involved in the                   10      Q I did want to ask you: Do you know the
11   origination process?                                   11   role of Mortgage Electronic Registration Systems,
12      A We were not.                                      12   Inc, with this deed of trust?
13      Q When did Wells Fargo first obtain an              13      A Yes. Mylor Financial -- this was a
14   interest in the loan?                                  14   uniform document that after they originated it,
15      A I don't know off the top of my head.              15   they -- I believe they transferred their beneficiary
16      Q Is there a place you would look to find           16   interest to MERS, but I may be wrong on that.
17   out that information?                                  17      Q So looking at the page of the deed of
18      A It's in the mortgage servicing platform.          18   trust that is Bates Stamped WFB00002, in
19   There would be a date that would indicate how we       19   Paragraph E, it says, "MERS is Mortgage Electronic
20   acquired our servicing rights or the date and how.     20   Registration, Inc. MERS is a separate corporation
21      Q Do you have an approximate time when              21   and is acting solely as nominee for lender and
22   Wells Fargo became the servicer of this loan?          22   lender's successors and assigns. MERS is the
23      A No.                                               23   beneficiary under the security instrument."
24      Q Has Wells Fargo ever been the owner of the        24          Do you see that?
25   loan or the investor?                                  25      A Yes.

                                                  Page 18                                                     Page 20

 1    A No, we have not.                                     1    Q Is that your understanding?
 2    Q Who is the investor?                                 2    A Yes.
 3    A I believe the servicer -- I don't know,              3    Q In Paragraph M on that same page, it says
 4 actually. I would have to look at a document for --       4 "'Escrow Items,'" and it says, "means those items
 5 I don't know.                                             5 that are described in Section 3."
 6    Q Where would you look to find that                    6        Do you see that?
 7 information?                                              7    A I do, yes.
 8    A It would be in the mortgage servicing                8    Q Then if you turn to Section 3, which is on
 9 platform. There's a page that indicates how we were       9 Page 4 of 14 or the page Bates Stamped WFB000004, it
10 servicing.                                               10 says, "Funds for Escrow Items. Borrower shall pay
11    Q Well, we can go ahead and keep going                11 to lender on the day periodic payments are due under
12 through some of these documents, and then if you         12 the note, until the note is paid in full, the sum
13 think of it, then you can just let me know.              13 (Funds) to provide for payment of amounts due for,
14        Is that all right?                                14 (a) taxes and assessments and other items which can
15    A Yes, because I may -- we may actually own           15 attain priority over this security instrument as a
16 this loan. I don't see it in any of these                16 lien or encumbrance on the property."
17 documents.                                               17        Do you see that?
18        THE WITNESS: Did you bring anything, any          18    A I do, yes.
19 documents?                                               19    Q Do you know if the taxes were ever
20 BY MS. EBRON:                                            20 escrowed for this loan?
21    Q Let's just go ahead and we'll keep going            21    A I don't know. No, I don't recall ever
22 through these documents --                               22 seeing anything about the escrow.
23    A Sorry.                                              23    Q Where would you look to find out if the
24    Q -- and if we need to take a break -- I              24 taxes were escrowed for this loan?
25 don't know if there's a way for you to look at the       25    A In the mortgage servicing platform or the

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 1 payment history, but I don't recall ever looking to      1 security instrument."
 2 see if they were.                                        2   A Yes.
 3    Q Do you know if dues for the homeowners              3       (Deposition Exhibit 4 was marked for
 4 association were ever escrowed for this loan?            4       identification.)
 5        MR. KLOMP: Objection: Scope.                      5 BY MS. EBRON:
 6    A Well, I don't know if -- well, they -- I            6   Q Can you look at what's been marked
 7 don't believe that they were, because they weren't       7 Exhibit 4, please. Do you recognize this document?
 8 being paid, and I saw a number of notices that they      8   A Yes.
 9 weren't being paid, so they would not have been if       9   Q What is it?
10 the -- if the taxes and insurance were escrowed,        10   A This is a grant, bargain, sale deed that
11 they were not part of that.                             11 was recorded 2/15/07.
12 BY MS. EBRON:                                           12   Q Is this something that is contained in
13    Q Can you turn to the page that is Bates             13 Wells Fargo's business records?
14 Stamped WFB000016. Do you recognize this?               14   A It is, yes.
15    A Yes.                                               15       (Deposition Exhibit 5 was marked for
16    Q What is it?                                        16       identification.)
17    A This is the -- this is a rider to the deed         17 BY MS. EBRON:
18 of trust. It's a planned unit development rider.        18   Q Can you look at what's been marked
19    Q Do you know the purpose of including a             19 Exhibit 5.
20 planned unit development rider with a deed of trust?    20   A Yes.
21        MR. KLOMP: Objection: Form.                      21   Q Do you recognize this document?
22    A It was part of a planned community, and it         22   A Yes. This is also a grant, bargain, sale
23 required one, I guess.                                  23 deed that was recorded in Clark County 2/15/2007.
24 BY MS. EBRON:                                           24   Q And is this your understanding -- is it
25    Q Is it your understanding that the planned          25 your understanding that this grant, bargain, sale


                                                 Page 22                                                    Page 24

 1 unit development rider gives notice to the borrower      1 deed transferred the property at issue in this case
 2 of an obligation to pay assessments to a homeowners      2 to the borrower?
 3 association?                                             3    A Yes.
 4        MR. KLOMP: Objection: Form.                       4    Q And this is something that's contained in
 5    A I don't know that I'm able to say what              5 Wells Fargo's business records?
 6 notice the borrower had or what he understood it to      6    A It is, yes.
 7 be. But, I mean, it's clearly part of a planned --       7    Q Do you know if the originating lender
 8 a planned property unit.                                 8 considered the amount of the homeowners association
 9        But can you rephrase your question?               9 dues when approving the borrower for the loan?
10 BY MS. EBRON:                                           10        MR. KLOMP: Objection: Scope.
11    Q Sure. This is a separate rider that the            11    A I would -- I have no knowledge of what
12 borrower was required to sign?                          12 they considered and if they considered that as a
13    A That's correct.                                    13 factor.
14    Q And it contains information about the              14 BY MS. EBRON:
15 property being located within a planned unit            15    Q What documents did you look at in
16 development; correct?                                   16 preparation for your deposition?
17    A Yes.                                               17    A I looked at the note, the
18    Q And it also includes information, in               18 mortgage -- well, the note, the documents in our
19 Paragraph F, on the page Bates Stamped WFB000017,       19 imaging system from the -- within a specified date
20 that states that "If borrower does not pay PUD dues     20 period; I looked at the documents -- all the
21 and assessments when due, then lender may pay them."    21 documents that were produced in this case as well as
22    A That's correct.                                    22 the request for production, the request for
23    Q And it goes on to say, "any amounts                23 admissions, and the interrogatories.
24 disbursed by the lender under this Paragraph F shall    24    Q Anything else?
25 become additional debt of borrower secured by the       25    A I don't believe so.

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 1    Q Did you review any of Wells Fargo's                 1    Q What is it?
 2 computer systems for servicing platforms?                2    A This is a notice of default and election
 3    A I did not access the account in the                 3 to sell under deed of trust important notice.
 4 mortgage servicing platform, but I did review our        4 That's recorded 3/13/2009 with the Clark County
 5 documents in our imaging system.                         5 Recorder.
 6    Q Did you speak to anyone to obtain                   6    Q Does this notice of default refer to the
 7 information to testify today?                            7 deed of trust that we marked as Exhibit 3?
 8    A Other than counsel, no.                             8        MR. KLOMP: Objection: Form.
 9    Q Do you recall when Wells Fargo first                9    A It does, yes.
10 obtained an interest? We can keep going with the        10 BY MS. EBRON:
11 documents if you don't.                                 11    Q Who is National Default Servicing
12    A I don't recall.                                    12 Corporation?
13    Q Okay.                                              13    A That was the trustee that we were using.
14       (Deposition Exhibit 6 was marked for              14 I believe it was the second trustee, but at this
15       identification.)                                  15 time I believe it was the trustee.
16 BY MS. EBRON:                                           16    Q And at this time, in March of 2009,
17    Q Can you look at what's been marked                 17 Wells Fargo had an interest?
18 Exhibit 6.                                              18    A Yes.
19    A Yes.                                               19    Q Do you know if there were any payments
20    Q Do you recognize this document?                    20 made on the loan by the borrower after this notice
21    A Yes.                                               21 of default?
22    Q What is it?                                        22    A I don't believe that there were, but I'm
23    A It's a release of notice of delinquent             23 not positive. I don't know.
24 assessment lien recorded 12/19/2008, Clark County       24    Q On the page that is Bates Stamped
25 Recorder.                                               25 WFB000033, the second paragraph from the bottom that


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 1    Q Is this something that was contained in             1 starts off, "at a breach of." Do you see that?
 2 Wells Fargo's business records?                          2    A Um-hmm.
 3    A Yes.                                                3    Q It mentions that there had not been
 4    Q Do you know when it was put into                    4 payment for installments, principal, interest, and
 5 Wells Fargo's business records?                          5 impounds which became due on November 1st, 2008.
 6    A I don't recall the date, no, but I didn't           6        Do you see that?
 7 look to -- I didn't look to make sure that I             7    A I do, yes.
 8 remembered the dates that we received the release of     8    Q Do you know if the loan was still due for
 9 the notice of the delinquent assessments. I believe      9 payments that were due starting on November 1st,
10 there were a number of these that I saw within our      10 2008?
11 imaging system.                                         11        MR. KLOMP: Objection: Scope.
12    Q Do you know if it was around the time that         12    A I don't recall.
13 it was recorded, which it looks like it was December    13        (Deposition Exhibit 8 was marked for
14 of 2008, or if it would have been sometime after the    14        identification.)
15 association foreclosure sale? Before the sale?          15 BY MS. EBRON:
16    A I don't know. I wasn't looking to see              16    Q Can you look at what has been marked as
17 what date the release of the notice is in there.        17 Exhibit 8, please.
18        (Deposition Exhibit 7 was marked for             18    A Yes.
19        identification.)                                 19    Q Do you recognize this document?
20 BY MS. EBRON:                                           20    A Yes.
21    Q Can you look at what's been marked                 21    Q What is it?
22 Exhibit 7.                                              22    A This is the notice of rescission of notice
23    A Yes.                                               23 of default and election to sell under deed of trust.
24    Q Do you recognize this document?                    24 It is recorded 4/1/2009 with the Clark County
25    A I do, yes.                                         25 Recorder.


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 1    Q And it was National Default Servicing               1 document, I wasn't -- I wasn't attempting to
 2 Corporation who caused this to be recorded on behalf     2 remember the date that this came in.
 3 of Wells Fargo?                                          3     Q You mentioned earlier that when you
 4    A That's correct.                                     4 reviewed the imaging system, it was for a specific
 5    Q Do you know why the notice of default was           5 date period; is that right?
 6 rescinded?                                               6     A That's correct.
 7    A I don't know.                                       7     Q What date period did you review the
 8    Q Is there a place that you would look or             8 imaging system for?
 9 someone you would talk to, to find that information?     9     A 2012, January 2012 through February 2013.
10    A The notes in the mortgage servicing                10     Q So if it was within the documents that you
11 platform would advise as to why we requested the        11 reviewed, then it was received sometime between
12 rescission. There also may be notes in LPS, which       12 January 2012 and February 2013?
13 would be the platform that we communicated with the     13     A If this is -- so I reviewed our
14 trustee. I would anticipate that there would be         14 production, and then I also reviewed documents in
15 notes in there that would indicate why they were        15 our imaging system that are unrelated to this
16 requesting that.                                        16 litigation but were received. So I reviewed every
17       (Deposition Exhibit 9 was marked for              17 document that we received between January 2012 and
18       identification.)                                  18 February 2013, but I also reviewed separately all
19 BY MS. EBRON:                                           19 the documents that were part of our production.
20    Q Can you look at what's been marked                 20        So this wouldn't be included within that
21 Exhibit 9, please.                                      21 date range of the documents that I was looking at in
22    A Yes.                                               22 our imaging system, but I did review it as part of
23    Q Do you recognize this document?                    23 the documents that were produced in the case.
24    A I do, yes.                                         24     Q Thank you.
25    Q What is it?                                        25 / / /


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 1    A This is a release of lien that is recorded          1        (Deposition Exhibit 11 was marked for
 2 5/21/2009, Clark County Recorder.                        2        identification.)
 3    Q Is this something contained in                      3 BY MS. EBRON:
 4 Wells Fargo's business records?                          4   Q Can you look at what's been marked
 5    A It is, yes.                                         5 Exhibit 11, please.
 6       (Deposition Exhibit 10 was marked for              6   A (Complies.)
 7       identification.)                                   7   Q Do you recognize this document?
 8 BY MS. EBRON:                                            8   A Yes.
 9    Q Can you look at what's been marked                  9   Q What is it?
10 Exhibit 10, please.                                     10   A This is an assignment of the deed of trust
11    A Yes.                                               11 that is recorded 6/16/2011 with the Clark County
12    Q Do you recognize this document?                    12 Recorder.
13    A Yes.                                               13   Q Who is it from, and who is it to?
14    Q What is it?                                        14   A It is from MERS to Wells Fargo.
15    A This is also -- well, this is a notice of          15   Q This isn't the first time that Wells Fargo
16 delinquent assessment lien recorded 3/31/2011 with      16 obtained an interest in the loan; right?
17 the Clark County Recorder.                              17   A No.
18    Q Is this something contained in                     18   Q That was sometime back at least in 2009 or
19 Wells Fargo's business records?                         19 before?
20    A It is, yes.                                        20   A I don't recall exactly the time that we
21    Q Do you know when Wells Fargo obtained a            21 obtained an interest. The assignment of the deed of
22 copy of this notice of delinquent assessment lien?      22 trust does not signify the date that we obtained an
23    A I didn't look. All the documents are               23 interest. It had to do with the default servicing.
24 stamped with a date that they are inputted into the     24   Q What do you mean "default servicing"?
25 imaging system, but I -- for this particular            25   A The assignment of the deed of trust is

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 1 done when the borrower's delinquent and we are           1         (Deposition Exhibit 12 was marked for
 2 preparing to go to foreclosure or pursuing that as a     2         identification.)
 3 potential option.                                        3   BY MS. EBRON:
 4    Q Can you look at the title that says                 4      Q Can you look at what's been marked
 5 "assignment of deed of trust" and then up, right         5   Exhibit 12.
 6 above that to the left, it says "MIN."                   6      A Yes.
 7        Do you see that?                                  7      Q Do you recognize this document?
 8    A Yes.                                                8      A Yes.
 9    Q Do you know what that is?                           9      Q What is it?
10    A I believe that that's the number that you          10      A This is a notice of claim of lien for
11 can reference this document within MERS's system.       11   solid waste service. This is recorded 8/1/2011,
12 It is not a number that we use within our system,       12   with Clark County Recorder.
13 but I believe that's how they can pull the document.    13      Q Is this part of Wells Fargo's business
14    Q If you look back and compare it with the           14   records?
15 same one on Exhibit 3, the other MIN --                 15      A It is, yes.
16    A On the deed of trust, it should be the             16         (Deposition Exhibit 13 was marked for
17 same. Yes, it's the same.                               17         identification.)
18    Q Have you seen the MERS milestones for this         18   BY MS. EBRON:
19 case?                                                   19      Q Can you look at what's been marked
20    A I have not. I didn't look for them.                20   Exhibit 13, please.
21        MR. KLOMP: Just lodge an objection as to         21      A Yes.
22 the scope.                                              22      Q Do you recognize this document?
23 BY MS. EBRON:                                           23      A Yes.
24    Q When Wells Fargo first obtained its                24      Q What is it?
25 interest in the loan, did it know the property was      25      A This is a notice of default and election

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 1 located within a homeowners association?                 1   to sell under deed of trust important notice. This
 2     A I don't know.                                      2   is recorded 8/12/2011 with the Clark County
 3     Q Who would know that?                               3   Recorder.
 4    A Whether we knew that this loan had an HOA           4      Q This notice of default was also filed by
 5 for was subject to one? Well, as soon as we had the      5   National Default Servicing Corporation on behalf of
 6 deed of trust, we would have known that, and we          6   Wells Fargo; correct?
 7 would have received that shortly after we had any        7      A Yes.
 8 interest in the property, but I -- I don't know -- I     8      Q And this notice of default mentions, on
 9 don't know when that would have been or if that          9   the second page Bates Stamped WFB000043, a failure
10 would even have been a factor that we would have        10   to pay amounts that become due on November 1, 2008,
11 considered.                                             11   as well. Do you see that?
12 BY MS. EBRON:                                           12      A Yes.
13     Q Do you know if Wells Fargo reviewed a copy        13           (Deposition Exhibit 14 was marked for
14 of the declaration of CC&Rs for the association         14           identification.)
15 before obtaining its interest in the loan?              15   BY MS. EBRON:
16        MR. KLOMP: Objection: Scope.                     16      Q Can you look at what's been marked
17     A I don't believe that is part of the               17   Exhibit 14, please. Do you recognize this document?
18 process.                                                18      A I do, yes.
19 BY MS. EBRON:                                           19      Q What is it?
20     Q Do you know if the originating lender             20      A This is a notice of default and election
21 reviewed a copy of the CC&Rs and before getting a       21   to sell under homeowners association lien recorded
22 loan on the property?                                   22   8/18/2011 with Clark County Recorder.
23        MR. KLOMP: Objection: Scope.                     23      Q Is this something that's contained in
24     A I don't know.                                     24   Wells Fargo's business records?
25 / / /                                                   25      A Yes.

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 1       (Deposition Exhibit 15 was marked for              1   12/7/2012 with the Clark County Recorder.
 2       identification.)                                   2      Q Is this something contained in
 3 BY MS. EBRON:                                            3   Wells Fargo's business records?
 4    Q Can you look at what has been marked as             4      A It is, yes.
 5 Exhibit 15, please.                                      5         (Deposition Exhibit 19 was marked for
 6    A Yes.                                                6         identification.)
 7       MS. EBRON: Off the record for one second.          7   BY MS. EBRON:
 8       (Pause in proceedings.)                            8      Q Can you look at what's been marked Exhibit
 9 BY MS. EBRON:                                            9   19, please. Do you recognize this document?
10    Q Is Exhibit 15 something contained in               10      A Yes.
11 Wells Fargo's business records?                         11      Q Notice of claim of lien for solid waste
12    A It is, yes.                                        12   service recorded January 31st, 2013, with the
13       (Deposition Exhibit 16 was marked for             13   Clark County Recorder.
14       identification.)                                  14         Is this something that's contained in
15 BY MS. EBRON:                                           15   Wells Fargo's business records?
16    Q Can you look at what's been marked                 16      A It is, yes.
17 Exhibit 16, please.                                     17         (Deposition Exhibit 20 was marked for
18    A Yes.                                               18         identification.)
19    Q Do you recognize this document?                    19   BY MS. EBRON:
20    A I do, yes.                                         20      Q Can you look at what's been marked as
21    Q What is it?                                        21   Exhibit 20, please.
22    A This is the notice of trustee's sale               22      A Yes.
23 recorded 7/17/2012 with the Clark County Recorder.      23      Q Do you recognize this document?
24    Q Is this something that's contained in              24      A Yes.
25 Wells Fargo's business records?                         25      Q What is it?

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 1     A    It is, yes.                                     1    A Substitution of trustee recorded 3/7/2013
 2         (Deposition Exhibit 17 was marked for            2 with the Clark County Recorder.
 3         identification.)                                 3    Q Who is being substituted as trustee
 4   BY MS. EBRON:                                          4 through this document?
 5     Q Can you look at the document that's been           5    A Charles Myers is being substituted by
 6   marked Exhibit 17?                                     6 National Default Servicing Corporation.
 7     A Yes.                                               7    Q Do you know why it wasn't until March of
 8     Q Do you recognize this document?                    8 2013 that National Default Servicing Corporation was
 9     A Yes.                                               9 substituted as trustee when it was recording
10     Q What is it?                                       10 documents for several years before that?
11     A This is a notice of lien recorded                 11    A I don't know.
12   8/24/2012 with the Clark County Recorder.             12        (Deposition Exhibit 21 was marked for
13     Q Is this something contained in                    13        identification.)
14   Wells Fargo's business records?                       14 BY MS. EBRON:
15     A Yes.                                              15    Q Can you look at what's been marked
16         (Deposition Exhibit 18 was marked for           16 Exhibit 21.
17         identification.)                                17    A Yes.
18   BY MS. EBRON:                                         18    Q Do you recognize this document?
19     Q Can you look at what's been marked                19    A I do, yes.
20   Exhibit 18.                                           20    Q What is it?
21     A Yes.                                              21    A The trustee's deed upon sale recorded
22     Q Do you recognize this document?                   22 January 11th, 2013, with the Clark County
23     A Yes.                                              23 Recorder.
24     Q What is it?                                       24    Q Is this something that's contained in
25     A This is a notice of trustee sale recorded         25 Wells Fargo's business records?


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 1      A It is, yes.                                         1   of the note secured by the deed of trust." And then
 2      Q Do you know when it was received into               2   it says "Wells Fargo."
 3   Wells Fargo's business records?                          3      A Yes?
 4      A I don't know.                                       4      Q Do you see that?
 5         (Deposition Exhibit 22 was marked for              5      A Yes.
 6         identification.)                                   6      Q And then it says, in Paragraph 5, the full
 7   BY MS. EBRON:                                            7   name and business address of the current beneficiary
 8      Q Can you look at what's been marked                  8   of record of the deed of trust is Wells Fargo?
 9   Exhibit 22, please. Do you recognize this document?      9      A Yes.
10      A Yes.                                               10      Q And then on the next page, it -- in
11      Q What is it?                                        11   Paragraph 6, it says that the servicer is also
12      A Notice of rescission and notice of default         12   Wells Fargo?
13   and election to sell under deed of trust recorded       13      A Yes.
14   3/8/2013 with the Clark County Recorder.                14      Q Does this affidavit of authority refresh
15      Q Do you know why the notice of default was          15   your recollection as to whether or not Wells Fargo
16   rescinded?                                              16   is the investor on this loan?
17      A I don't know.                                      17      A No, not whether the investor, but it
18         (Deposition Exhibit 23 was marked for             18   appears that we are the holder of the note.
19         identification.)                                  19          MS. JEONG: Sorry. "We were the holder
20   BY MS. EBRON:                                           20   of..."
21      Q Can you look at what's been marked as              21          THE WITNESS: The holder of the note.
22   Exhibit 23.                                             22   BY MS. EBRON:
23      A Yes.                                               23      Q On the next page Bates Stamped
24      Q Do you recognize this document?                    24   WFB000065 --
25      A I do, yes.                                         25      A Yes.

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 1      Q What is it?                                         1    Q -- it has Paragraph 10, which references
 2      A Notice of default and election to sell              2 an assignment, the one that we marked as Exhibit 11.
 3   under deed of trust important notice recorded            3        Do you see that?
 4   September 25th, 2013, with the Clark County              4    A Yes.
 5   Recorder.                                                5    Q Ask in your review of the file, did you
 6      Q In the last paragraph on the first page,            6 see any other assignments of the deed of trust
 7   the one Bates Stamped WFB000060, it -- like on the       7 either recorded or unrecorded?
 8   other present notices of default, it says that --        8    A I did not. I don't believe there were any
 9   there's a defendant with the installments of             9 others.
10   principal and interest which became due on              10    Q Do you know if there's any other entity
11   November 1st, 2008. Do you see that?                    11 that claims an interest in the note?
12      A Yes.                                               12    A Can you rephrase?
13      Q And this was also recorded by National             13    Q Is there any entity besides Wells Fargo
14   Default Servicing Corporation on behalf of              14 who claims any sort of interest in the note, like
15   Wells Fargo; right?                                     15 ownership or any other type of interest?
16      A It was, yes.                                       16    A Yes. It's a VA guarantied loan, so they
17      Q If you'd turn to the page that is Bates            17 would have an interest.
18   Stamped WFB000063. It's an affidavit of authority       18    Q Anyone else?
19   to exercise the power of sale. Do you see that?         19    A No.
20      A Yes.                                               20    Q So when you say something's "VA
21      Q And it refers to the deed of trust that we         21 guaranteed," what does that mean?
22   marked as Exhibit 3; right?                             22    A That the VA has an interest in -- well,
23      A Yes.                                               23 the VA has guaranteed the loan to ensure that if the
24      Q In Paragraph 4 on that page, it says, "The         24 borrower does not meet the obligations, then I
25   full name and business address of the current holder    25 believe the VA -- I don't know. My understanding


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 1   was the borrower was a member of the armed services.1 getting -- him not being entitled to the benefits of
 2   When he took out this loan, he was not required to  2 the mediation program because it wasn't a primary
 3   purchase mortgage insurance because the VA          3 residence.
 4   guaranteed the loan should the borrower default and 4    Q So it's your understanding that the
 5   the owner lose money on the loan.                   5 property on Padre Bay is not the borrower's primary
 6         I believe -- actually, I don't know how we    6 residence?
 7   go about seeking reimbursement or whatever through 7         MR. KLOMP: Objection: Form.
 8   the VA. I don't know how the process works.         8    A I believe at the time that we -- or at the
 9      Q Do you know if there has been any type of      9 time that this was recorded, it was not his primary
10   a claim or something made to the VA for            10 residence.
11   reimbursement?                                     11 BY MS. EBRON:
12         MR. KLOMP: Objection: Scope.                 12    Q Do you know if it was before?
13      A Reimbursement for what?                       13    A It was.
14   BY MS. EBRON:                                      14    Q Do you know if it was after the time that
15      Q Oh, for the borrower not paying since         15 this was recorded?
16   November of 2008.                                  16    A Do I know if he moved back into the
17         MR. KLOMP: Same objection.                   17 property?
18      A Reimbursement for what? For the payments 18         Q Do you have any information about when he
19   or the loss or --                                  19 left the property?
20   BY MS. EBRON:                                      20    A I do recall seeing documents that
21      Q Either. Anything.                             21 indicated when he moved to California, but I
22      A I -- the only thing I recall seeing was a     22 don't -- was it 2011? I -- I don't -- I don't
23   request for reimbursement for appraisal fees from 23 recall the specific date.
24   the VA. I don't recall seeing anything else.       24    Q Okay. But do you think that it was before
25      Q Thank you.                                    25 the date of the association foreclosure sale in


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 1        (Deposition Exhibit 24 was marked for               1 January of 2013?
 2        identification.)                                    2    A It was.
 3 BY MS. EBRON:                                              3       (Deposition Exhibit 25 was marked for
 4    Q Can you look at what's been marked                    4       identification.)
 5 Exhibit 24.                                                5 BY MS. EBRON:
 6    A Yes.                                                  6    Q Can you look at what's been marked
 7    Q Do you recognize this document?                       7 Exhibit 25, please.
 8    A Yes.                                                  8    A Yes.
 9    Q What is it?                                           9    Q Do you recognize this document?
10    A Certificate, State of Nevada Foreclosure             10    A Yes.
11 Mediation Program recorded 2/12/2014, Clark County        11    Q What is it?
12 Recorder.                                                 12    A Notice of trustee sale recorded 2/12/2014
13    Q Is this something that relates to the deed           13 with the Clark County Recorder.
14 of trust we marked as Exhibit 3?                          14    Q And this is something that National
15    A It does, yes.                                        15 Default Servicing Corporation had recorded on behalf
16    Q And is this something that National                  16 of Wells Fargo?
17 Default Servicing Corporation had recorded on behalf      17    A It is, yes.
18 of Wells Fargo?                                           18    Q It mentions a date and time of sale as
19    A It is, yes.                                          19 March 7, 2014. Do you see that?
20    Q Do you know what it means "non-applicable            20    A I do, yes.
21 property"?                                                21    Q Do you know if that sale went forward?
22    A I do. I believe that the State of Nevada             22    A I don't actually know.
23 foreclosure mediation program had an exemption for        23    Q On the second page Bates Stamped
24 none primary residence, and I believe the                 24 WFB000069, in the second paragraph it says, "Said
25 non-applicable property was related to him not            25 Sale will be made in an "as-is" condition, without


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 1 covenant or warranty, express or implied, regarding      1 under homeowners association lien recorded
 2 title, possession, or encumbrances.                      2 8/18/2011, with the Clark County Recorder.
 3         Do you see that?                                 3     Q Is this something that is contained in
 4     A I do.                                              4 Wells Fargo's business records? I just asked you
 5     Q Do you know why that was included in the           5 that question. Never mind.
 6 notice of trustee sale?                                  6        Do you know who stamped "Received
 7         MR. KLOMP: Objection: Form.                      7 September 13, 2011" and "DOS" at the top?
 8     A I don't know.                                      8     A Yes, DOS.
 9 BY MS. EBRON:                                            9     Q What is DOS, or who is DOS?
10     Q Have you seen other notices of trustee's          10     A I forget what it stands for.
11 sale similar to this one?                               11     Q Is it a department within Wells Fargo?
12     A I've seen a lot of notices of trustee's           12     A It is.
13 sale. I'm not -- I haven't -- I haven't reviewed        13     Q Do you know who stamped "DSM Servicing
14 them to determine the similarities or differences,      14 Mail Support X2302-04E, Sep 9, 2011, # 14"?
15 so I don't -- I don't know if this would be standard    15     A Yes.
16 or atypical.                                            16     Q Who was that?
17     Q So you're not sure if that language is            17     A DSM Servicing Mail Support. DSM is Des
18 usually included in these types of notices?             18 Moines. I don't know what the "No. 14" is, but the
19         MR. KLOMP: Objection: Scope.                    19 September 9th, 2011, would have been the date that
20     A I don't know.                                     20 that department received the -- received this
21         (Deposition Exhibit 26 was marked for           21 document.
22         identification.)                                22     Q And just to the right of that and beneath
23 BY MS. EBRON:                                           23 it there's No. "152015" and a "VS" and
24     Q Can you look at what has been marked              24 "708-0204165757."
25 Exhibit 26.                                             25        Do you know what those numbers or that

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 1   A Yes.                                                 1 writing goes to?
 2   Q Do you recognize this document?                      2    A I don't know who put the writing on there,
 3   A Yes.                                                 3 but that 708 would have -- and the preceding
 4   Q What is it?                                          4 numbers -- that's the account number for the
 5   A The notice of lis pendens.                           5 specific loan.
 6   Q Is this something that's contained in                6       The VS, I'm not exactly certain, but I
 7 Wells Fargo's business records?                          7 would assume that is the vendors keep number that
 8   A It is, yes.                                          8 correlates to this loan.
 9   Q Do you know when it came to be in                    9    Q The what number?
10 Wells Fargo's business records?                         10    A It's vendor's scape or vendor's scape or
11   A I do not. It is indicated that it's                 11 vendor's scope. It is a platform that we use for
12 recorded February 20th, 2014, with the Clark            12 accounts that are in default.
13 County Recorder, but I don't know the date that it      13    Q And then the next page is Bates Stamped
14 came into our business records or that we received      14 WFB000075. Do you know what this is?
15 notice.                                                 15    A This is the envelope that this document
16       (Deposition Exhibit 27 was marked for             16 came in.
17       identification.)                                  17    Q And this was stored in Wells Fargo's
18 BY MS. EBRON:                                           18 business records, next to the notice on the previous
19   Q Can you look at the document that's been            19 page?
20 marked as Exhibit 27, please.                           20    A Is it stored next to it?
21   A Yes.                                                21    Q Yeah, is it --
22   Q Do you recognize this document?                     22    A It's all part of the same document.
23   A I do.                                               23    Q Okay.
24   Q What is it?                                         24    A So the envelope that the document came in
25   A Notice of default and election to sell              25 is part of the same image file.


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 1     Q Do you know what the handwritten                     1   Exhibit 27, I didn't see the envelopes that
 2 information is just to the left of the address?            2   indicated date stamps that they were received. I
 3     A Are you asking me to tell you -- I don't             3   know that the -- sorry. Just one second.
 4 know what that means. It appears to say 1-LIR or           4          The trustee's deed upon sale that was
 5 potentially 1-L/R. It is stamped "Lien Release,"           5   recorded January 11th, 2013 -- I didn't see an
 6 maybe Minneapolis, but I don't know what the               6   envelope for that, and I also didn't see -- and I
 7 handwriting is.                                            7   looked for an envelope for -- so there is no
 8     Q So the stamp that says "Received                     8   envelope for the one that was recorded 7/17/12.
 9 September 1st, 2011, Lien Release," and then               9      Q And that's Exhibit Number --
10 starts with an "M" -- I'm not sure -- and then            10      A -- 16. I don't know. Is it right here?
11 "X9901-11R" -- do you know what that stamp means?         11   It would be. No?
12     A Yes. It's -- I'm trying to think of how             12          MR. KLOMP: Let me take a look real quick.
13 to describe it.                                           13   I think it's No. 18.
14         It's just, like, various identification           14          MS. EBRON: We can go off the record for a
15 codes within Wells Fargo that can receive or send         15   second.
16 mail, so it's like MAC codes. I don't know what           16          (Off-the record discussion held.)
17 "MAC" stands for, but it's just an identification         17      A Exhibit 18, the notice of trustee's sale
18 code to identify where this was received.                 18   that was recorded 12/7/2012 -- I looked for the
19         So "Lien Release," and then it's a                19   envelope. It was not part of this imaged file, and
20 little blurry, but I believe it's "MIN," and if you       20   it was -- we -- we don't have a copy of it.
21 look at the address that it is sent to, it was sent       21   BY MS. EBRON:
22 to Minneapolis, so I would assume the "MIN" is            22      Q Of the envelope?
23 "Minneapolis."                                            23      A No, we don't.
24     Q Okay. In the address there, it looks like           24      Q But you do have a copy of the notice?
25 it references the MIN again that was on the               25      A Yes.

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 1   assignment and also the deed of trust. Is that           1      Q Okay. I just want to make sure on that.
 2   right?                                                   2          Does Wells Fargo have a practice, policy,
 3      A Yeah. Yes.                                          3   or procedure to make a note in its servicing
 4      Q And so from what you've told me, do you             4   platform when it receives mail like notices of
 5   think it's accurate to say this envelope containing      5   default or notices of sale?
 6   the notice of default was received in Minneapolis in     6      A Do we now or at this -- which --
 7   or around September 1st, 2011, and then by               7      Q During the time these notices were being
 8   September 9th, 2011, it made its way to                  8   sent out, so between August of 2011 and the day of
 9   Des Moines, and then on September 13th, 2011,            9   the association foreclosure sale, in January of
10   somebody from DOS had a copy of it?                     10   2013.
11      A Yes.                                               11      A I don't know.
12      Q Were there any other foreclosure notices           12         So as you can see, sometimes documents are
13   that you saw within the imaging system that had         13   received by departments that don't necessarily have
14   similar stamps or that you could tell were with an      14   anything to do with the handling of the specific
15   envelope from Alessi & Koenig?                          15   document, and so a document might be received by the
16      A I don't believe so. I know that the --             16   lien release department that wouldn't then know to
17   this notice of default and election to sell had the     17   go into the mortgage servicing platform and indicate
18   envelope. The actual notice of trustee sale -- hold     18   the date that it came in. So if this came to DOS,
19   on.                                                     19   then, yes, there would be a notation within the
20      Q It may be either Exhibit 16 or Exhibit 18.         20   mortgage -- there should be a notation within the
21      A Yes. The notice of trustee sale -- not             21   mortgage servicing platform the, date that this came
22   that one. And, actually, we -- we have, in our          22   in, and -- that's the end of that sentence.
23   imaging system, a copy of -- I believe at least         23   BY MS. EBRON:
24   three notices of trustee's sale from Alessi.            24      Q Okay. Do you know if there's a note
25          I did not see -- aside from this one,            25   indicating when the notice of default that's marked

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 1   as Exhibit 27 was received by any of the departments    1     Q Did Wells Fargo ever contact the borrower
 2   within Wells Fargo?                                     2 about the association foreclosure sale?
 3      A I don't believe there is, no.                      3     A Sales, plural.
 4      Q So the lack of the note doesn't                    4         No. We had contact with our borrower, but
 5   necessarily mean that a document wasn't received;       5 I don't believe that it was as a result of receiving
 6   right?                                                  6 these notices.
 7      A That's -- yes, I will agree with that.             7     Q Did Wells Fargo ever contact the
 8   And we did receive this document.                       8 ombudsman's office in Nevada Real Estate Division
 9      Q Right. I know there's -- there's stamps            9 about this property?
10   saying it was received, so I just want to check and    10     A I don't know.
11   see.                                                   11     Q Did Wells Fargo attend the sale on
12      A Oh, I'm sorry. I'm looking at 18. You're          12 January -- in January of 2013?
13   looking at a different exhibit.                        13     A We didn't receive notice of that sale
14      Q So 27 was received, but 18 was also               14 until after the sale had already occurred, so we did
15   received. And was 16 also received?                    15 not attend.
16      A All the documents that have been Bates            16     Q How do you know that?
17   Stamped Wells Fargo, "WFB," they've all been           17     A Because I looked in the imaging system to
18   received --                                            18 see when we had received the notice, and we received
19      Q Okay. Do you --                                   19 it after the sale had -- it is imaged in our
20      A -- which I think is everything, all of the        20 sometime after the sale had occurred.
21   exhibits.                                              21     Q Do you know when it was imaged?
22      Q Do you know what action Wells Fargo took          22     A I do. Now I'm not sure. I believe that
23   after receiving the notice of default that's in        23 it is either January 11th, 2013, or
24   Exhibit 27?                                            24 January 13th, 2013, but I don't recall now.
25          So we know it was transferred to a few          25         It was a couple days after, so it was

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 1   different departments, but beyond that, do you know     1 either January 11th or January 13th, 2013,
 2   what action Wells Fargo took in relation to this        2 but...
 3   notice?                                                 3    Q So it was imaged on that date, but do you
 4      A I don't believe we took any action. I              4 know if it was actually received on that date?
 5   believe there's a cancelation of this one, though,      5    A I don't know.
 6   that we received in one of the other exhibits, but I    6    Q Were there any stamps on the notice that
 7   don't believe we took any action as a result of         7 was imaged on January 11th?
 8   receiving this.                                         8    A No. So our imaged copy looks exactly like
 9      Q What about the notice of trustee's sale in         9 this. This is a duplicate of what our copy looks
10   Exhibit 16? Do you know if there was any action        10 like, unlike the other one, where -- unlike
11   taken by Wells Fargo after receiving that notice?      11 Exhibit 27, Exhibit 18 doesn't bear any stamps to
12      A No, I don't believe that there was. But I         12 show what date different departments would have
13   believe that this one was -- we had received a         13 touched the document or handled it, and there was no
14   cancelation on this.                                   14 envelope that was included with this imaged file.
15      Q In Exhibit 18, after receiving that               15    Q So I'm just looking at the -- well, let me
16   notice, did Wells Fargo take any action?               16 ask you this: Do you know the date that the notice
17      A No.                                               17 of default in Exhibit 27 was scanned?
18      Q Did Wells Fargo ever try to contact the           18    A No, I do not.
19   association about this property?                       19    Q Do you know if it was scanned at every
20      A Prior to the foreclosure sale, I don't            20 step of the way or if it was only scanned once? So,
21   believe so.                                            21 for example, the first stamp is September 1st,
22      Q Did Wells Fargo ever try to contact Alessi        22 2011. Do you know if it was scanned before these
23   & Koenig, LLC, about this property before the          23 other stamps were put on it?
24   foreclosure sale?                                      24    A I don't believe that it was, because I
25      A No.                                               25 don't recall seeing copies with -- without the


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 1 handwriting or without one or other of the stamps.       1 that wasn't supposed to do anything with it then
 2 And generally speaking, a department that receives a     2 they would forward it; right?
 3 document that is not within their scope of duty          3    A Yes.
 4 would not image the document.                            4    Q And they wouldn't necessarily image it?
 5    Q So for this one, at least, it looks like            5    A No, not necessarily.
 6 it was scanned sometime after DOS received it, since     6    Q So it could have been in Wells Fargo's
 7 DOS' stamp is on it?                                     7 possession, just not imaged into the system; right?
 8        MR. KLOMP: Objection. You're referring            8    A I mean, in theory, but I would -- I would
 9 to 27?                                                   9 be speculating with regard to where it was sent, so
10        MS. EBRON: Twenty-seven.                         10 the -- Exhibit 18 doesn't have an envelope, and I
11        MR. KLOMP: Okay.                                 11 don't know if it was sent to Lien Release or if it
12    A Yes, it would have been.                           12 was sent to Wells Fargo Credit Card Services,
13 BY MS. EBRON:                                           13 wherever.
14    Q And that would have been 12 days after it          14        I know that it's not in the imaging system
15 was received by the first department in Lien            15 prior to the date of the sale.
16 Release --                                              16    Q But you didn't check the servicing notes
17    A Yes, after it was received by lien                 17 to see if there was any mention of receipt of the
18 release.                                                18 notice of sale?
19    Q So is it possible that the notice of               19        MR. KLOMP: Objection: Form.
20 trustee sale was received before the date of the        20    A No, I did not check the servicing notes,
21 sale and it's not --                                    21 but I reviewed our responses.
22        MR. KLOMP: Objection -- go ahead.                22 BY MS. EBRON:
23 BY MS. EBRON:                                           23    Q And somebody else looked at them?
24    Q -- imaged until after?                             24    A I don't know that our responses indicated
25        MR. KLOMP: Objection: Form.                      25 that the servicing notes were reviewed, but, I mean,


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 1    A I mean, I would be speculating. I don't             1 I would -- I would be speculating.
 2 know.                                                    2    Q Do you know who gave the factual
 3 BY MS. EBRON:                                            3 information to respond to the interrogatories?
 4    Q Were there any servicing notes mentioning           4    A Yes, Wells Fargo Law Department.
 5 the notice of trustee sale?                              5    Q Is there a specific person within the law
 6        MR. KLOMP: Objection: Scope.                      6 department that did that?
 7    A I did not review the servicing notes in             7    A I don't know who specifically was assigned
 8 the mortgage servicing platform. But I believe           8 to this case, but all the information is verified by
 9 consistent with our responses to the                     9 the person who does the verification before it's --
10 interrogatories, we did not receive notice prior to     10 before we file our response.
11 the sale.                                               11    Q Okay. So would the person who signed the
12 BY MS. EBRON:                                           12 verification have looked at the servicing notes?
13    Q How do you know that?                              13    A Yes.
14    A Because if you look at the documents in            14    Q Does Wells Fargo dispute that the
15 the imaging system, it's not there prior. So if we      15 homeowners association dues were delinquent for this
16 had received notice prior to just -- June 1st,          16 property?
17 2015, if a document is received by us, it should be     17        MR. KLOMP: Objection: Form.
18 in our imaging system prior to that date. If it is      18    A I don't believe we're disputing that, but
19 not received by us, I wouldn't expect to see it in      19 I -- that's kind of outside of my scope.
20 the imaging system until after June 1st, 2015, and      20 BY MS. EBRON:
21 that's how we would gauge looking back in time, you     21    Q Within the records that you reviewed, you
22 know, four years when we receive different              22 mentioned that there was contact with the borrower?
23 documents.                                              23    A That we had? Not -- not related to the
24    Q Right. I understand that, but a minute             24 HOA, but we were in contact with the borrower.
25 ago, you testified that if a department received it,    25        THE WITNESS: And I'm sorry if I object --

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 1   or if I --                                              1          And I will just put a caveat on all of
 2           MR. KLOMP: You're fine. I was just going        2   this: The documents outside of the documents that
 3   to object to the form, but you nailed it so it          3   are part of this production -- the only ones that I
 4   didn't matter.                                          4   reviewed were for a very limited period of time, and
 5   BY MS. EBRON:                                           5   so the only documents that I reviewed that are
 6      Q Okay. So do you know if the borrower ever          6   unrelated to this that related to, like, the short
 7   mentioned anything going on with the homeowners         7   sale are just from January 2012 to February 2013, so
 8   association, like the delinquency or the                8   within that period of time, he made no indication
 9   foreclosure?                                            9   that he had arrearages that were owed to the HOA
10           MR. KLOMP: Objection: Form.                    10   other than indicating on one or two monthly
11      A There's nothing that I reviewed that was          11   financials that it was $35 -- I think it was $35 --
12   communication from our borrower that included          12   that he indicated that it was.
13   anything at all about the HOA, except for the fact     13      Q When we were talking about Exhibits 16 and
14   that he had an HOA.                                    14   18 earlier, you mentioned something about a
15   BY MS. EBRON:                                          15   cancelation of -- receiving a cancelation?
16      Q Was this borrower ever considered for a           16      A Yes.
17   loan modification?                                     17      Q What were you referring to?
18           MR. KLOMP: Objection: Scope.                   18      A So I believe we received -- so he had,
19      A I don't believe -- well, so the                   19   like, water -- delinquent water bills that liens
20   borrower -- this is confusing. Sorry.                  20   were recorded and then canceled, and I believe that
21           I did review documents from us that            21   the notice of trustee sale -- they may have just
22   indicated that we had assigned a single point of       22   been postponing the sale, but I believe we have
23   contact to assist him with a loan modification         23   notice that the sales are -- that the sales I guess
24   review. I don't believe the borrower ever pursued      24   did not go forward, and I don't know if that's part
25   that, and so, technically, we had sent solicitations   25   of these documents.

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 1   and even assigned someone to assist him with that     1        Q We have the release of notice of
 2   review.                                               2     delinquent assessment lien that we marked as
 3          The borrower was working on a short sale.      3     Exhibit 6. That one's from 2008. I didn't see any
 4   I don't believe he ever tried to get a loan           4     others in your production or on the public records.
 5   modification.                                         5        A Okay. This may -- this may be the only
 6   BY MS. EBRON:                                         6     one and then just the cancellations from -- I think
 7      Q Okay. So he wouldn't have filled out,            7     it was water. It might have been trash or
 8   like, an RMA or...                                    8     something -- no. I think it was water. Those may
 9      A So no. I don't -- I did not see any              9     be the only other cancellations.
10   requests for mortgage assistance.                    10        Q Okay. So I just wanted to make sure, you
11          The short sale process at the time            11     know, if you had a document or a note or something
12   required a hardship letter and documentation of      12     that showed that the notice of trustee's sale was
13   financials which we received, but there was          13     canceled, I would be interested to see that.
14   nothing -- I don't think I saw an RMA, and I don't   14        A Yeah. I may just be confused then, and we
15   know that one would have been required during that 15       may not have any of those. Okay. I hadn't seen
16   period of time.                                      16     anything like that. Yeah. So maybe it was just
17      Q Do you know if the documentation for the        17     this one and then the -- the lien releases for --
18   short sale required the borrower to provide          18            MS. EBRON: I think they were -- but I
19   information about either the balance owed to the     19     think they were called "cancellations."
20   association or the amount of the dues?               20            (Discussion held off the record.)
21      A The borrower did provide a breakdown of 21                    MS. EBRON: Back on the record.
22   his monthly expenses, and I believe I recall seeing 22      BY MS. EBRON:
23   that he had a breakdown of his housing expenses that 23        Q While we were off the record, we were able
24   indicated that he had a $35 monthly HOA obligation. 24      to go through some of the documents.
25   Other than that, there was nothing that I reviewed. 25             Is it accurate to state that you're not

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 1   aware of any cancellations of the notices of sale       1      A Can you clarify?
 2   that were from the association?                         2   BY MS. EBRON:
 3      A That's correct.                                    3      Q Did the -- or did Wells Fargo sue the
 4      Q But there are a lot of lien releases and           4   homeowners association about its lien on the
 5   cancellations but just not related to those notices     5   property before the date of the sale?
 6   of sale; right?                                         6      A No, we did not.
 7      A That's correct, not from the HOAs.                 7      Q Did Wells Fargo file a complaint with the
 8      Q Does Fannie Mae have an interest in this           8   Nevada Real Estate Division against the association
 9   loan?                                                   9   or Alessi & Koenig before the date of the
10      A No.                                               10   association foreclosure sale?
11      Q How do you know that?                             11      A No.
12      A Because they don't.                               12      Q Did Wells Fargo make any payments to the
13      Q Is there a certain business record that           13   association in relation to this property?
14   you reviewed that tells you that Fannie Mae does not   14      A No.
15   have an interest?                                      15      Q Did Wells Fargo ever make any payments to
16      A Well, I believe that was a specific               16   Alessi & Koenig, LLC, in relation to this property?
17   question in the requests for admissions, but it's      17      A No.
18   not -- it's not a Fannie.                              18      Q Did Wells Fargo ever try to make a payment
19      Q Is this a Freddie Mac loan?                       19   that wasn't accepted by the association or Alessi in
20      A No.                                               20   relation to this property?
21      Q Is this loan FHA insured?                         21      A No.
22      A No.                                               22      Q And I may have already asked this, but I'm
23      Q How much did Wells Fargo pay for its              23   not sure: Did Wells Fargo attend the association
24   interest in the loan?                                  24   foreclosure sale?
25          MR. KLOMP: Objection: Scope.                    25      A You did ask. No, we did not.

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 1          MS. EBRON: It's --                               1    Q I don't remember if it was in one of the
 2          MR. KLOMP: I know.                               2 other depos yesterday or today.
 3          MS. EBRON: -- No. 4.                             3        Is there a pooling and servicing agreement
 4          MR. KLOMP: I'm just logging my objection.        4 applicable to this loan?
 5          MS. EBRON: Okay.                                 5    A No.
 6      A I don't know.                                      6    Q Are there servicing guidelines applicable
 7   BY MS. EBRON:                                           7 to this loan?
 8      Q Do you know -- do you recall when                  8    A Yes.
 9   Wells Fargo obtained its interest in the loan?          9    Q Do any of those servicing guidelines
10      A I don't know.                                     10 mention -- or are they applicable to associations,
11      Q And do you know through what type of              11 association liens, or association foreclosures?
12   transaction Wells Fargo obtained its interest in the   12    A I don't know.
13   loan?                                                  13        And when I say there's servicing
14      A I don't know.                                     14 guidelines, there's even Wells-owned properties have
15      Q Do you know if Wells Fargo has more than          15 servicing guidelines, so even if they're part of our
16   the servicing rights for this loan?                    16 own portfolio, we still have servicing guidelines
17      A I believe we do. We do. Actually, I               17 that we look to just as if it were owned by Fannie
18   don't know. I'm --                                     18 or subject to PSA.
19      Q Okay.                                             19    Q Thank you. Were there any practices
20      A -- unclear at this point.                         20 policies, procedures, applicable to the property for
21      Q Did Wells Fargo participate in any civil          21 handling association liens for the time period
22   or administrative actions before the date of the       22 beginning from the date of origination to the date
23   association foreclosure sale in relation to this       23 of the association foreclosure sale?
24   property?                                              24        MR. KLOMP: I'll just lodge an a limited
25          MR. KLOMP: Objection to form.                   25 objection to the time Wells Fargo was not the named


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 1 holder or beneficial interest holder.                    1   looked at in Exhibit 18, was posted on the property?
 2    A I don't know.                                       2      A I don't know.
 3 BY MS. EBRON:                                            3      Q Does Wells Fargo dispute that the notice
 4    Q Do you know the factual basis for the               4   of sale was mailed to the borrower?
 5 allegation that the first deed of trust was not          5          MR. KLOMP: Objection: Scope.
 6 extinguished by the association foreclosure sale?        6      A I don't know. You're asking if we're
 7        MR. KLOMP: Objection: Form.                       7   disputing any of this. I don't know.
 8    A Do I know the factual basis?                        8   BY MS. EBRON:
 9 BY MS. EBRON:                                            9      Q Yeah, or if you have any knowledge about
10    Q Yes.                                               10   that.
11    A Yes. We had a first mortgage lien on the           11      A I have no knowledge about that, but I also
12 property, and we were not aware that there was a        12   don't know if we're disputing that. I don't think
13 foreclosure sale, having not received notice. And,      13   that we think that's material whether or not he
14 also, not knowing that the Nevada courts would          14   received notice. We didn't receive notice, so...
15 interpret or provide a remedy for HOAs to have a        15      Q But you did receive the notice of default,
16 super-priority lien, we -- it's our position that --    16   though; right?
17 I mean, I'm not even sure this is really my role, to    17      A We received a notice of default, yes.
18 lay out our legal position, but, no, we have a first    18      Q What would have happened if the notice of
19 mortgage lien; we have not been paid; and it's our      19   sale in Exhibit 18 was received before the
20 position that the HOA sale didn't provide us notice,    20   association foreclosure sale --
21 and it was -- I think it was for, like, $6,300, and     21          MR. KLOMP: Objection.
22 our total at the time was for, like, $400,000.          22          MS. EBRON: Sorry.
23 BY MS. EBRON:                                           23          MR. KLOMP: Go ahead.
24    Q Anything else?                                     24   BY MS. EBRON:
25    A No.                                                25      Q Do you know if there would have been any

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 1    Q Does Wells Fargo dispute that the notice            1   action taken by Wells Fargo?
 2 of delinquent assessments lien document was mailed       2         MR. KLOMP: Objection: Form and scope.
 3 to the borrower?                                         3     A Well, since we didn't receive it prior to
 4    A I don't know if they're disputing or not.           4   the sale, I'm speculating as to what would have
 5 I don't know we would have standing to say whether       5   happened and if we could have saw into the future to
 6 he received or was mailed anything. I don't know.        6   see how the Court was going to rule with regard to
 7    Q So there's not anything within                      7   the HOA loans then.
 8 Wells Fargo's business records that discuss whether      8         Our practice is to protect our interest in
 9 or not the borrower received a notice of delinquent      9   the property, so how do we receive timely notice?
10 assessments?                                            10   How do we foresaw how the Court was going to rule
11    A I don't believe so. I did not see                  11   then -- with regard to the HOAs and their ability to
12 anything that indicated that he had put us on notice    12   obtain a super-priority lien, then we would have
13 or that he had -- whether that's sufficient or not,     13   paid it.
14 but I -- I don't -- I did not see anything that he      14         So our process would have hinged on a
15 had advised us that there was delinquent                15   number of variables that just didn't exist at the
16 assessments -- that there were delinquent               16   time.
17 assessments.                                            17   BY MS. EBRON:
18    Q Does Wells Fargo dispute that the notice           18     Q So are you saying that if it was received
19 of default with the homeowners association was          19   before because, you did not know that the Nevada
20 posted on the property?                                 20   Supreme Court would have interpreted the statute the
21        MR. KLOMP: Objection: Scope.                     21   way that it is, then it still would not have been
22    A I don't know.                                      22   paid?
23 BY MS. EBRON:                                           23         MR. KLOMP: Objection: Form.
24    Q Does Wells Fargo dispute that the notice           24     A No. If -- I mean, now -- now that we have
25 of sale at issue, the second notice of sale that we     25   seen how the interpretation is affecting our liens,

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 1   then if this were to happen today, then we would      1      it, bring it current, and we determine not to attend
 2   attend the sale. But, I mean, there was no way for 2         the sale, then, yes, if we are in foreclosure also
 3   us to know then.                                      3      and we -- and our foreclosure sale occurs, then,
 4   BY MS. EBRON:                                         4      yes, we can pay off the foreclosure lien after, with
 5      Q Right. So before September of 2014,              5      the proceeds from our own sale, if it occurs at a
 6   before the Nevada Supreme Court came down with its    6      later date.
 7   decision in SFR to U.S. Bank, Wells Fargo would have 7              I just don't -- I don't know this ever did
 8   been operating under the same belief that it did      8      go to foreclosure and that response -- I guess the
 9   when it received its notice of default; right?        9      question is what did we do after we received it.
10          MR. KLOMP: Objection: Form.                   10          Q Yes.
11      A I believe so. But I will say it's a             11          A And then the response is saying what we
12   case-by-case basis whether or not we make payments      12   would do if we had had a sale.
13   in other states that don't have this interpretation     13          MS. EBRON: Well, it didn't say what you
14   of the law, and in other -- so in other states and      14   would do if you had a sale.
15   in other situations, it's a case-by-case basis          15          Let's go ahead and mark the responses as
16   whether we're going to pay an HOA lien or any other     16   Exhibit 28.
17   lien on the property, so I would assume that it         17          (Deposition Exhibit 28 was marked for
18   would have went to -- had we received this prior to     18          identification.)
19   the sale date, it would have went to the appropriate    19          MS. EBRON: Here's a copy for you,
20   department to review it to determine what steps we      20   Counsel.
21   were going to take, if any.                             21   BY MS. EBRON:
22   BY MS. EBRON:                                           22       Q So it's Page 3.
23      Q What department would that be?                     23       A Okay. I agree that we do have a practice
24      A I believe that it's called -- well, it's           24   of paying off association liens with proceeds from
25   in servicing. It's not corporate trust. I don't         25   our foreclosure sales. In certain situations, yes.

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 1 know the name of the exact department, but it's            1    Q Okay. So in this case, the action was --
 2 default servicing.                                         2 was to wait? Is that right? I'm not sure I'm
 3    Q You reviewed the responses to                         3 understanding the response to the interrogatory.
 4 interrogatories; right?                                    4    A So the interrogatory is asking what --
 5    A I did.                                                5 what did we do after we received notice that the
 6    Q In Interrogatory No. 4, it asks to                    6 association was enforcing its lien against the
 7 describe any action you took relating to the               7 property. And the response is saying that our
 8 association lien, if any, after receiving notice           8 policy is to pay off the HOA lien with proceeds from
 9 that the association was enforcing its lien against        9 our foreclosure sale. That is a true statement.
10 the property.                                             10         I think you just sup- -- I would
11        And then the response -- there were some           11 supplement that response and say that after
12 objections about duty to do that, and then without        12 receiving the notice, we -- we didn't take any steps
13 waiving any objections, Wells Fargo responds that         13 after receiving the notice because we didn't get to
14 its policy is to pay off the association lien from        14 the point that we were going to take the steps that
15 proceeds of its own foreclosure sale.                     15 we usually do, which would be to pay it off after
16        Does that sound accurate to you?                   16 our own foreclosure sale.
17    A That is. That is -- is that a policy, or             17    Q So if the notice of sale had been logged
18 is that a -- what are you asking?                         18 and had gotten to the right department and
19    Q Does that response sound accurate to what            19 Wells Fargo knew about the sale, the association
20 actions did you take after receiving a notice?            20 foreclosure sale, before January 9th, 2013, would
21    A I guess my trouble in responding to that             21 its actions still have been to wait and pay the
22 is I don't know we ever had -- that our sale ever         22 association lien from its own foreclosure sale
23 occurred. But, generally speaking, if we receive          23 proceeds?
24 notice of an HOA foreclosure sale, if we determine        24         MR. KLOMP: Objection. Form.
25 not to pay or attend -- if we determine not to pay        25    A It could have been. We could have paid

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 1 it. So there -- we -- there have been instances          1   LLC, and Alessi & Koenig, LLC?
 2 where we pay the liens without going to foreclosure      2      A I have not seen anything.
 3 sale, so there would be a review, and there would be     3      Q Is there anything within Wells Fargo's
 4 a determination of what we would do.                     4   business records that suggests that SFR Investments
 5 BY MS. EBRON:                                            5   Pool 1, LLC, colluded with anyone to -- in relation
 6    Q Do you know if that review would have been          6   to the sale?
 7 documented in any way? So, for example, was there a      7      A Can you rephrase?
 8 review of the notice of default?                         8      Q Does Wells Fargo have any evidence that
 9    A I don't know. It would be memorialized in           9   SFR Investments Pool 1, LLC, colluded with another
10 the mortgage servicing platform, so within the          10   person or entity in relation to the association
11 servicing notes, perhaps also in the foreclosure        11   foreclosure sale?
12 notes within MSP. If there was a review, it would       12          MR. KLOMP: Objection: Form.
13 be memorialized in one of those two places.             13      A I don't know.
14    Q Was there -- or are there any servicing            14   BY MS. EBRON:
15 notes indicating that there was a review of the         15      Q Okay. You know, sometimes the borrowers
16 notice of sale marked as Exhibit 18?                    16   in these cases, though -- they'll call up the lender
17        MR. KLOMP: Objection: Scope.                     17   and say this and this and this is going on with the
18    A I don't know. I didn't review the                  18   association, "They're foreclosing on my property,"
19 servicing notes.                                        19   and they give information.
20 BY MS. EBRON:                                           20          I'm just wondering if there's anything
21    Q Does Wells Fargo have a factual basis for          21   like that in Wells Fargo's files for this property.
22 any allegation that the circumstances surrounding       22      A Our borrower didn't tell us anything about
23 the association foreclosure sale constitute fraud,      23   the HOA foreclosure sale. My hesitation was just
24 oppression, or unfairness?                              24   with regard to our opinion of the sale.
25        MR. KLOMP: Objection: Form.                      25      Q Right. Okay.

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 1    A I believe we responded "No" on that one.            1         And I know you mentioned some things about
 2         What question are you on the                     2 not receiving notice. Do you have any information
 3 interrogatories?                                         3 or position on whether or not SFR Investments Pool
 4 BY MS. EBRON:                                            4 1, LLC, knew whether or not Wells Fargo had notice
 5    Q On Topic 25. Sorry. It's not a                      5 of the sale?
 6 interrogatory.                                           6         MR. KLOMP: Objection: Form.
 7    A Oh.                                                 7    A You're asking me if Wells Fargo knew that
 8    Q Well, it may be, but I was just asking              8 your client knew we had notice?
 9 about Topic 25.                                          9 BY MS. EBRON:
10    A I think it is, actually, on -- I think             10     Q Is there anything in your file that would
11 it's in the requests for admissions, and I think we     11 give you any knowledge of what SFR knew at the time
12 responded "No," but I think there was a general         12 that it purchased the sale -- purchased the property
13 reservation that if we -- the discovery was ongoing     13 at the sale?
14 and we would supplement later, but I believe we         14         MR. KLOMP: Objection. Form.
15 responded that we don't have any -- we don't have a     15     A No. I mean, I don't know what your client
16 position at this point that there's any fraud.          16 was thinking.
17    Q Thank you.                                         17 BY MS. EBRON:
18         Does Wells Fargo have any information           18     Q In your review of the file, did you see
19 about the relationship between SFR Investments          19 any valuations of the property?
20 Pool 1, LLC, and the association beyond what it         20     A I did.
21 knows from the Trustee's Deed Upon Sale?                21     Q How many?
22    A I don't believe so, no. I haven't seen             22     A I may have seen two, but it may have been
23 anything.                                               23 a duplicate. I've seen at least one valuation, but
24    Q Does Wells Fargo have any information              24 it is a couple years -- I think it's a couple years
25 about the relationship of SFR Investments Pool 1,       25 before the sale, before the HOA foreclosure sale.


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 1     Q Do you remember how much it was for?               1 internal communications that mentions the
 2     A I believe it was for 120, 120,000.                 2 association lien, delinquent association
 3     Q And do you know the purpose of that                3 assessments, or association foreclosure as it
 4 valuation?                                               4 relates to the property?
 5     A I don't -- it may have been a dual                 5    A No.
 6 purpose, both for foreclosure and also short sale        6    Q Besides the documents we've already talked
 7 review. I don't recall if it was specifically for        7 about, did you see any documents or communications
 8 short sale or foreclosure. I'm assuming that it was      8 between Wells Fargo and the association?
 9 dual.                                                    9    A No.
10     Q And do you know if there was an appraisal         10    Q What about between Wells Fargo and Alessi?
11 done when the loan was originated?                      11    A No.
12     A I would assume that there was, but I don't        12        MS. EBRON: Those are all the questions
13 actually recall seeing one. But I specifically -- I     13 that I have.
14 wasn't specifically looking for one.                    14        Counsel, do you have any questions?
15     Q Fair enough.                                      15        MS. JEONG: My questions are really
16        Did Wells Fargo ever obtain a trustee's          16 simple.
17 sale guarantee for this loan?                           17                EXAMINATION
18     A I don't know if we did.                           18 BY MS. JEONG:
19     Q Does Wells Fargo maintain documents that          19    Q We saw on some of the exhibits the MIN
20 it receives from the trustee, so National Default       20 number. What does that stand for?
21 Servicing Corporation?                                  21    A I don't know.
22     A Yes.                                              22    Q And on Exhibit 27 --
23     Q Did you review any of those documents in          23    A And, actually, I don't recall, because --
24 preparation for your deposition?                        24 I don't know.
25        MR. KLOMP: Objection: Scope.                     25    Q Oh, okay.

                                                 Page 86                                                    Page 88

 1    A So I think that there -- I think that the           1          On Exhibit 27, on the first page, we saw
 2 only documents that I've seen from them are part of      2   the letters "VS." You said it was vendor something.
 3 this production. I don't believe there was anything      3   I couldn't --
 4 within the year's time span that I was looking. I        4      A I think it's vendor scape or vendor scope,
 5 don't think there was anything from them in our          5   so it's a -- it's a platform that we use to
 6 imaging system, and that may have predated when we       6   communicate with vendors on accounts that are in
 7 were working with them.                                  7   default, and it's vendor scape or vendor scope. I'm
 8 BY MS. EBRON:                                            8   not sure which one it is. It's not called that
 9    Q Do you know if there's a title policy for           9   anymore.
10 this loan?                                              10      Q Okay. And what are some of the vendors --
11    A I don't know.                                      11   like what are some of the examples of the vendors
12    Q In your review of the file, did you see            12   that you would use?
13 any internal communications that mentions the           13      A So we would communicate with, like, our
14 association lien, delinquent association assessment,    14   property preservation vendors through what was
15 or association foreclosure as it relates to the         15   called "vendor scope," at the time or "scape"; our
16 property?                                               16   trustees; I believe our communication through our
17    A No.                                                17   counsel was also done through there.
18    Q Where would you look to see that                   18          Those are just vendors.
19 information?                                            19      Q Okay.
20    A In the servicing process notes or in the           20      A I don't know anyone besides those three
21 foreclosure notes.                                      21   groups.
22    Q But you didn't review those before your            22          MS. JEONG: That's all I have.
23 deposition today; right?                                23          MR. KLOMP: Thanks.
24    A I didn't.                                          24          THE REPORTER: Ms. Jeong, your request was
25    Q So you don't know if there are any                 25   for an electronic copy.

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 1        MS. JEONG: Yes.
 2        THE REPORTER: Mr. Klomp, yours will be
 3   whatever is standard for your office?
 4        MR. KLOMP: Electronic is fine.
 5        THE REPORTER: Thank you.
 6        (Proceedings concluded at 3:24 p.m.)
 7                  -oOo-
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                                                 Page 90
 1 STATE OF NEVADA )
   COUNTY OF CLARK )
 2
 3                 CERTIFICATE OF REPORTER
 4      I, Andrea N. Martin, a duly commissioned and
 5 licensed court reporter, Clark County, State of
 6 Nevada, do hereby certify:
 7      That I reported the taking of the deposition of
 8 Stephanie Bradford, commencing on Friday, April 8,
 9 2016, at the hour of 1:17 p.m.; that the witness
10 was, by me, duly sworn to testify to the truth and
11 that I thereafter transcribed my said shorthand
12 notes into typewriting, and that the typewritten
13 transcript of said deposition is a complete, true,
14 and accurate transcription of said shorthand notes;
15 that I am not a relative or employee of any of the
16 parties involved in said action, nor a relative or
17 employee of an attorney involved in nor a person
18 financially interested in said action; further, that
19 the reading and signing of the transcript was
20 waived.
21      IN WITNESS WHEREOF, I have hereunto set my hand
22 in my office in the County of Clark, State of
23 Nevada, this 18th day of April, 2016.
24
                     __________________________________
25                   ANDREA N. MARTIN, CRR, CCR NO. 887



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